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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE



In re:                                                           Chapter 7
                                                                 Case No. 18-11535 (CTG)
THE ART INSTITUTE OF PHILADELPHIA
LLC, et al., 1                                                   (Jointly Administered)
                      Debtors.


GEORGE L. MILLER, Chapter 7 Trustee,

                                  Plaintiff,

                             v.                                  Adv. Proc. No. 20-50627 (CTG)

TODD S. NELSON, JOHN R. McKERNAN,                                Re: D.I. 91, 93-95, 98-103, 108, 110, 111,
SAMUEL C. COWLEY, EDWARD WEST,                                   113-115, 117 & 118
MARK A. McEACHEN, FRANK JALUFKA,
J. DEVITT KRAMER, MARK NOVAD, JOHN
DANIELSON, AND MICK BEEKHUIZEN,


                                    Defendants.


                   JOINT NOTICE OF COMPLETION OF BRIEFING

         PLEASE TAKE NOTICE that briefing is complete on: (i) Motion to Dismiss the

First Amended Complaint of Defendants John Devitt Kramer and Mark Novad [D.I. 93];

(ii) Motion of Defendants West and Beekhuizen to Dismiss the First Amended Complaint

[D.I. 98]; and (iii) Defendants Mark McEachen, Frank Jalufka, and John Danielson’s (I)

Motion to Dismiss First Amended Complaint or in the Alternative, (II) Motion for a More

Definite Statement, (III) Motion to Extend Answer Deadline, and (IV) Joinder to Request

for Judicial Notice [D.I. 102] (collectively, the “Motions to Dismiss”).

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  Due to the large number of debtors in the above-captioned jointly-administered chapter 7 cases, a
complete list of such debtors and the last four digits of their federal tax identification numbers is not
provided herein. Such information can be found at footnote 1 of the First Amended Complaint [D.I. 91].



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         PLEASE TAKE FURTHER NOTICE that each of defendants Edward West,

Mark A. McEachen, Frank Jalufka, J. Devitt Kramer, Mark Novad, John Danielson, and

Mick Beekhuizen, by and through their respective undersigned counsel, hereby advise the

Court that the following pleadings are relevant to the Motions to Dismiss:



1.       First Amended Complaint [D.I. 91 – filed February 15, 2022]

2.       Motions to Dismiss:

         A.        Motion to Dismiss the First Amended Complaint of Defendants John
                   Devitt Kramer and Mark Novad [D.I. 93 – filed April 1, 2022]

                   i.     Opening Brief in Support of Motion to Dismiss the First
                          Amended Complaint of Defendants John Devitt Kramer and
                          Mark Novad [D.I. 94 – filed April 1, 2022]

                   ii.    Request of Defendants John Devitt Kramer and Mark Novad to
                          take Judicial Notice in Support of Motion to Dismiss the First
                          Amended Complaint [D.I. 95 – filed April 1, 2022]

                   iii.   Reply Brief in Support of Motion to Dismiss the First Amended
                          Complaint of Defendants John Devitt Kramer and Mark Novad
                          [D.I. 111 – filed June 15, 2022]

         B.        Motion of Defendants West and Beekhuizen to Dismiss the First
                   Amended Complaint [D.I. 98 – filed April 1, 2022]

                   i.     Memorandum in Support of Motion of Defendants West and
                          Beekhuizen to Dismiss the First Amended Complaint [D.I. 99 –
                          filed April 1, 2022]

                   ii.    Declaration in Support of Motion of Defendants West and
                          Beekhuizen to Dismiss the First Amended Complaint [D.I. 100
                          – filed April 1, 2022]

                   iii.   Request of Defendants West and Beekhuizen for Judicial
                          Notice in Support of Motion to Dismiss the First Amended
                          Complaint [D.I. 101 – filed April 1, 2022]

                   iv.    Reply Memorandum of Defendants West and Beekhuizen in
                          Support of their Motion to Dismiss the First Amended
                          Complaint [D.I. 114 – filed June 15, 2022]


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                   v.     Declaration in Support of Defendants West and Beekhuizen’s
                          Reply Memorandum in Support of their Motion to Dismiss the
                          First Amended Complaint [D.I. 115 – filed June 15, 2022]

         C.        Defendants Mark McEachen, Frank Jalufka, and John Danielson’s
                   (I) Motion to Dismiss First Amended Complaint, or in the Alternative,
                   (II) Motion for a More Definite Statement, (III) Motion to Extend
                   Answer Deadline, and (IV) Joinder to Request for Judicial Notice [D.I.
                   102 – filed April 1, 2022]

                   i.     Memorandum of Law in Support of Defendants Mark
                          McEachen, Frank Jalufka, and John Danielson’s (I) Motion to
                          Dismiss First Amended Complaint, (II) Motion for a More
                          Definite Statement, (III) Motion to Extend Answer Deadline,
                          and (IV) Joinder to Request for Judicial Notice [D.I. 103 – filed
                          April 1, 2022]

                   ii.    Reply in Support of Defendants Mark McEachen, Frank
                          Jalufka, and John Danielson’s (I) Motion to Dismiss First
                          Amended Complaint, (II) Motion for a More Definite
                          Statement, (III) Motion to Extend Answer Deadline, and
                          (IV) Joinder to Request for Judicial Notice [D.I. 113 – filed
                          June 15, 2022]

3.       Order [Regarding Opposition to and Replies in Support of Motions to
         Dismiss] [D.I. 108 – entered April 12, 2022]

4.       Plaintiff’s Omnibus Memorandum of Law in Opposition to Defendants
         Motions to Dismiss the First Amended Complaint [D.I. 110 – filed May 16,
         2022]

5.       Request for Oral Argument on Motions to Dismiss [D.I. 117 – filed June 22,
         2022]

                   i.     Order Scheduling Oral Argument [D.I. 118 – entered June 27,
                          2022]

         Accordingly, the Motions to Dismiss are fully briefed and ready for disposition by

this Court.




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Dated: June 28, 2022

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